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                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
 MICHAEL J. LINDELL,
                   Plaintiff,                                    Case No. 21-cv-01332
           vs.
 US DOMINION, INC., DOMINION VOTING                       STIPULATION TO EXTEND
 SYSTEMS, INC., DOMINION VOTING                           TIME TO ANSWER, PLEAD
 SYSTEMS CORPORATION, SMARTMATIC                          OR OTHERWISE RESPOND
 USA CORP., SMARTMATIC                                    TO COMPLAINT
 INTERNATIONAL HOLDING B.V., and SGO
 CORPORATION LIMITED,
                   Defendants.

      Plaintiff Michael J. Lindell and Defendants Smartmatic USA Corp., Smartmatic

International Holding B.V., and SGO Corporation Limited, by and through their respective

counsel, hereby stipulate and agree that Defendants Smartmatic USA Corp., Smartmatic

International Holding B.V., and SGO Corporation Limited shall have until the later of the

following to answer or otherwise respond to Plaintiff’s Complaint in the above-captioned case:

      1.         October 7, 2021; or

      2.         a deadline set by the Court at the status conference or hearing date scheduled

                 pursuant to Point 2 of the Court’s Order dated July 7, 2021 (ECF No. 19 at 2).

      SO STIPULATED.
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Dated: July 13, 2021
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